Case 2:04-cV-02072-.]P|\/|-de Document 66 Filed 08/19/05 Page 1 of 2 Page|D 85

 

IN THE UNITED sTATEs DIsTRIcT coURT F"‘ED BY -D,c_
FoR THE WEsTERN DIs'rRIcT oF TENNESSEE
wEsTERN DIvIsIoN 05 AUG fg pmz. '5
MARTIN M¢cLAIN, inaividualiy, CLEF§§ US% §§ng
and d/b/a MAc's PLAc:E BAR s. W (jp:`§;“;§i"mo[m
GRILL, ' "'"KFC'N,HS
Plaintiff,

v.

No. 04-2072 Ml/V
CITY OF MILLINGTON, TENNESSEE,
a municipal corporation,

TULLY REED, JERRY LADD,

TROY WALLS and MICHAEL WEST,
individually, and in their
official capacities as police
officers for the

City of Millington, Tennessee,

vvvvvvvvvvv`-¢v\-¢vv\¢¢v

Defendants.

 

JUDGMENT

 

JUDGMENT BY COURT. This action came to consideration before the Court.
The issues have been considered and a decision has been rendered.

IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that, in accordance
with the Order Gr nting Defendants’ Motion for Summary Judgment,
entered Auqust 4L_, 2005, judgment is hereby entered in favor of
Defendants City of MiJ..`|.inqton,r Tennessee, Tully Reed, Jerry Ladd, Troy
Walls and Michael West and against Plaintiff Martin McClain and this
case is DISMISSED WITH PREJUDICE.

APPROVED:

 

 

 

… ‘
O\
JON P. MCCALLA
UN STATE DISTRICT COURT
q-{ ,€M THoMAsM.eouLD
Date L*) ` Clerk of Court

 

(By)y Dep\é}ty Cler@<

Tmsdocumentenwredonthedocketshemincomphance

erh Hu|e 58 and/or 79(3) FRCP on g"'q`_@£ Q¢

TATES DISTRICT OU WESTENR ISRICT oF TENNESSEE

     

wis

UNITED

Notice of Distribution

This notice confirms a copy of the document docketed as number 66 in
case 2:04-CV-02072 Was distributed by faX, mail, or direct printing on
August 19, 2005 to the parties listed.

 

 

ReX L. Brasher

BROWN BRASHER & SMITH
5100 Poplar Avenue

Ste. 25 1 5

Memphis7 TN 38137

Todd Allen SnoW

HANOVER WALSH JALENAK & BLAIR
22 N. Front Street

5th Floor

Memphis7 TN 38103--210

Michael F. Pleasants
PLEASANTS LAW FIRM
8 S. Third St.

Ste. 200

Memphis7 TN 38103

Edward J. McKenney

HARRIS SHELTON HANOVER V\MLSH7 PLLC.
One Commerce Square

Ste. 2700

Memphis7 TN 38103--255

David A. Lumb
PLEASANTS LAW FIRM
8 S. Third St.

Ste. 200

Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

